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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

Adam Gray
                                  Plaintiff,
v.                                                     Case No.: 1:18−cv−02624
                                                       Honorable John Z. Lee
City of Chicago, et al.
                                  Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, May 20, 2022:


        MINUTE entry before the Honorable John Z. Lee:The motion filed by 5/16/22
[303] is denied. The concerns raised in the motion are premature, but will be considered
by the Court if and when the need arises. (ca, )




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